                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


 COINS N’ THINGS, INC.

                Plaintiff,
                                                            Civil Action No. 18-10257-RWZ
 v.

 UNITED STATES POSTAL SERVICE,

                Defendant.


                                             ANSWER

       The Defendant, United States Postal Service, answers the numbered paragraphs of the

Plaintiff’s Complaint as follows:

                                         INTRODUCTION

       The allegations contained in the introductory paragraph of the Plaintiff’s Complaint consist

of Plaintiff’s characterization of its action and conclusions of law to which no response is required.

To the extent the introductory paragraph is deemed to set forth factual allegations requiring a

response, such allegations are denied.

                                             PARTIES

       1.      The Defendant lacks knowledge or information sufficient to form a belief as to the

truth of the allegations contained in paragraph 1 of the Complaint, and therefore denies them.

       2.      The Defendant admits that 39 U.S.C. § 201 established the United States Postal

Service as an independent establishment of the executive branch of the Government of the United

States. The Defendant further admits that during the time period relevant to the Complaint, postal

services were provided to the Plaintiff from the Bridgewater Post Office. The Defendant denies

the remaining allegations contained in paragraph 2 of the Complaint.
                                        JURISDICTION

          3.    The allegations contained in the paragraph 3 of the Complaint state a conclusion of

law to which no response is required. To the extent a response is required, the allegations are

denied.

                                            TRAVEL

          4.    The Defendant admits that a final agency decision was issued against the Plaintiff

on July 27, 2015 in the amount of $225,826.20. Defendant admits that the final agency decision

was rescinded after Plaintiff initiated Civil Action No. 1:15-cv-13377-MPK (“the first action”).

The Defendant denies the remaining allegations contained in paragraph 4 of the Complaint.

          5.    Admitted.

          6.    Denied.

                    EXHAUSTION OF ADMINISTRATIVE REMEDIES

          7.    The Defendant admits that Plaintiff has exhausted its administrative remedies. The

Defendant denies the remaining allegations contained in paragraph 7 of the Complaint.

                                             FACTS

          8.    Denied.

          9.    Denied.

          10.   Admitted.

          11.   Denied.

          12.   Admitted.

          13.   The Defendant lacks knowledge or information sufficient to form a belief as to the

truth of the allegations contained in paragraph 13 of the Complaint, and therefore they are denied.

          14.   The Defendant lacks knowledge or information sufficient to form a belief as to the



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truth of the allegations contained in paragraph 14 of the Complaint, and therefore they are denied.

       15.     The Defendant lacks knowledge or information sufficient to form a belief as to the

truth of the allegations contained in paragraph 15 of the Complaint, and therefore they are denied.

       16.     The Defendant admits that it received Plaintiff’s packages for mailing at the

Bridgewater Post Office. The Defendant denies the remaining allegations contained in paragraph

16 of the Complaint.

       17.     The Defendant admits that Plaintiff sent over 3,000 parcels with a declared value

of $100 or $1,000 each during the relevant time period, and that Defendant’s employees calculated

the registered mail fees based upon the information provided by Plaintiff. The Defendant lacks

knowledge or information sufficient to form a belief as to the truth of the remaining allegations

contained in paragraph 17 of the Complaint, and therefore they are denied.

       18.     The Defendant lacks knowledge or information sufficient to form a belief as to the

truth of the allegations contained in paragraph 18 of the Complaint, and therefore they are denied.

       19.     The Defendant lacks knowledge or information sufficient to form a belief as to the

truth of the allegations contained in paragraph 19 of the Complaint, and therefore they are denied.

       20.     Denied.

       21.     The Defendant admits that armed guards and on-site acceptance of mail was

provided to Plaintiff because of the value of the items Plaintiff was shipping. The Defendant

denies the remaining allegations contained in paragraph 21 of the Complaint.

       22.     The Defendant admits that its employees had discussions with Plaintiff about

registered mail service. The Defendant denies the remaining allegations contained in paragraph

22 of the Complaint.

       23.     The Defendant admits that it provided armed police escorts for Plaintiff’s parcels



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mailed with registered mail services. The Defendant denies the remaining allegations contained

in paragraph 23 of the Complaint.

       24.     Denied.

       25.     Denied.

       26.     Denied.

       27.     Denied.

       28.     Admitted.

       29.     The Defendant admits a letter dated May 4, 2009 was sent to Plaintiff, and further

states that the letter speaks for itself. The Defendant lacks knowledge or information sufficient to

form a belief as to the truth of the remaining allegations contained in paragraph 29 of the

Complaint, and therefore they are denied.

       30.     Denied.

       31.     The Defendant admits a letter dated May 21, 2009 was sent to the Defendant from

the Plaintiff, and further states that the letter speaks for itself. The Defendant lacks knowledge or

information sufficient to form a belief as to the truth of the remaining allegations contained in

paragraph 31 of the Complaint, and therefore they are denied.

       32.     The Defendant admits a letter dated July 28, 2009 was sent to the Defendant from

the Plaintiff, and further states that the letter speaks for itself. The Defendant lacks knowledge or

information sufficient to form a belief as to the truth of the remaining allegations contained in

paragraph 32 of the Complaint, and therefore they are denied.

       33.     The Defendant admits a letter dated November 13, 2013 was sent to Plaintiff, and

further states that the letter speaks for itself. The Defendant lacks knowledge or information

sufficient to form a belief as to the truth of the remaining allegations contained in paragraph 33 of



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the Complaint, and therefore they are denied.

       34.     The Defendant admits a letter dated January 10, 2014 was sent to the Defendant

from the Plaintiff, and further states that the letter speaks for itself. The Defendant lacks

knowledge or information sufficient to form a belief as to the truth of the remaining allegations

contained in paragraph 34 of the Complaint, and therefore they are denied.

       35.     The Defendant admits that by letter dated July 27, 2015, Plaintiff’s appeal was

denied, a final agency decision against the Plaintiff issued, and further states that the letter speaks

for itself. The Defendant admits that the final agency decision was rescinded by letter dated

October 15, 2015, and further states that the letter speaks for itself. The Defendant admits that on

April 3, 2017, the Defendant requested additional documents from the Plaintiff. The Defendant

further admits that on November 9, 2017, the deficiency issued on July 27, 2015, was reinstated

and a final agency decision was issued. The Defendant denies the remaining allegations contained

in paragraph 35 of the Complaint.

                                             COUNT I

                                        Equitable Estoppel

       36.     The Defendant reiterates and incorporates by reference its responses to paragraphs

1 through 35 of the Complaint above, as though fully set forth herein.

       37.     Denied.

       38.     Denied.

       39.     Denied.

       40.     Denied.

       41.     Denied.

       42.     Denied.



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       43.     Denied.

       44.     Denied.

       The remainder of Count I of Plaintiff’s Complaint contains Plaintiff’s prayer for relief to

which no response is required. To the extent a response is required, the allegations are denied.

                                           COUNT II

                                     Administrative Appeal

       45.     The Defendant reiterates and incorporates by reference its responses to paragraphs

1 through 44 of the Complaint above, as though fully set forth herein.

       46.     Denied.

       47.     Denied.

       48.     Denied.

       49.     Denied.

       50.     Denied.

       51.     Denied.

       The remainder of Count II of Plaintiff’s Complaint contains Plaintiff’s prayer for relief to

which no response is required. To the extent a response is required, the allegations are denied.

                                           COUNT III

                                      Unjust Enrichment

       52.     The Defendant reiterates and incorporates by reference its responses to paragraphs

1 through 51 of the Complaint above, as though fully set forth herein.

       53.     Denied.

       54.     Denied.

       55.     Denied.



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       56.     Denied.

       57.     Denied.

       58.     Denied.

       59.     Denied.

       The remainder of Count III of Plaintiff’s Complaint contains Plaintiff’s prayer for relief to

which no response is required. To the extent a response is required, the allegations are denied.



                                           DEFENSES

       1.      Plaintiffs’ Complaint fails to state a claim upon which relief can be granted.

       2.      To the extent the Plaintiff’s Complaint is based on allegations that were not timely

presented in the administrative process, any such claims should be dismissed. Similarly, to the

extent that Plaintiff has not properly presented allegations to the agency, Plaintiff’s claims should

be dismissed for failure to exhaust administrative remedies.

       3.      This Court lacks subject matter jurisdiction over postal rate and regulation disputes

which are to be reviewed only by the United States Court of Appeals for the District of Columbia.

39 U.S.C. §3663.

       4.      Plaintiff has failed to exhaust its administrative remedies over any claims premised

upon Title 39 of the United States Code, as those claims must first be presented to the Postal

Regulatory Commission. 39 U.S.C. § 3662.

       5.      The Defendant’s Final Agency Decision is exempt from review under the

Administrative Procedures Act. 39 U.S.C. §410(a).

       6.      The Plaintiff should not be awarded the relief sought in the Complaint insofar as it

acted with “unclean hands.”



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       7.      The Defendant has, or may have, additional affirmative defenses that are not now

known to the Defendant. Defendant specifically preserves those and other affirmative defenses as

they are so ascertained.



       WHEREFORE, the Defendant, United States Postal Service, respectfully requests that

judgment be granted in its favor, and that the Court dismiss the Complaint, and grant further relief

as the Court deems just and appropriate.


                                              Respectfully submitted,

                                              ANDREW E. LELLING
                                              United States Attorney


                                       By:    /s/ Eve A. Piemonte
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                                              Of Counsel:
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                               CERTIFICATE OF SERVICE

        I, Eve A. Piemonte, Assistant United States Attorney, hereby certify that this document
filed through the ECF system will be sent electronically to the registered participants as identified
on the Notice of Electronic Filing (NEF) and paper copies will be sent to those indicated as non-
registered participants.

                                                      /s/ Eve A. Piemonte
                                                      Eve A. Piemonte
Dated: May 15, 2018                                   Assistant United States Attorney




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